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                    UNITED STATES BANKRUPTCY COURT
                       Northern DISTRICT OF FLORIDA

IN RE:                                         )
                                               )
Roger L. Unger                                 )     Case # 18-40443
                                               )     Chapter 7
                                               )
              Debtor(s)                        )

CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF
       REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS,
ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b),
 (f), AND (m), (II) SURCHARGE AGREEMENT BETWEEN SECURED
        LENDER AND THE ESTATE, AND (III ) OTHER RELIEF

        Sherry Chancellor (the “Trustee”), duly appointed Chapter 7 Trustee for the
above referenced debtor (the “Debtor”) pursuant to Sections 105 and 363 of the
Bankruptcy Code hereby files this motion (“Motion”) for entry of an order for
authority to sell certain real property free and clear of all liens, encumbrances, and
interests. In support thereof, the Trustee respectfully states as follows:
                                    JURISDICTION
        1.    This Court has jurisdiction to consider this Motion pursuant to
28 U.S.C. §§ 157 and 1334. This matter is a core proceeding within the meaning of
28 U.S.C. § 157(b)(2)(A), (M), (N), and (O).
        2.    Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and
1409.
        3.    The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m),
Federal Rules of Bankruptcy Procedure 2002 and 6004.
                                    BACKGROUND
        4.    On 08/20/2018 the Debtor commenced this case by filing a voluntary
petition for relief under Chapter 7 of the United States Bankruptcy Code (the
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“Petition Date”).
        5.       Sherry Chancellor is the duly appointed and qualified Chapter 7
                 Trustee.
        6.       The Trustee held and concluded the 341 meeting of creditors on
                 09/24/2018.
        7.       The Debtor scheduled a 100% ownership interest in the real property
located at 504 TRUETT DR TALLAHASSEE, FL 32303 (the “Property”) and
legally described as follows:
THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE
COUNTY OF LEON, STATE OF FLORIDA, AND IS DESCRIBED AS
FOLLOWS: LOT 7, BLOCK "A", PINE GROVE, A SUBDIVISION AS PER
MAP OR PLAT THEREOF, RECORDED IN PLAT BOOK 3, PAGE 15, OF THE
PUBLIC RECORDS OF LEON COUNTY, FLORIDA.
Parcel ID: 111985 A0070

        8.       The Debtor scheduled the Property as having a value of $77,000.00
subject to two loans in favor of Mr. Cooper f/k/a Nationstar Mortgage in first
position and Regions Bank in second position (the “Secured Creditor(s)”), in the
amounts owed on the Petition Date of approximately $34,694.74 and $169,786.80
respectively.

        9.       The Trustee, after reviewing certain materials, including (without
limitation) the BK Score™1, sales analysis report and opinion of value for the
Property provided by BK Global (“BKRES”) and Listing Agent, has determined it
to be in the best interest of the Debtor’s estate and all creditors to negotiate to obtain
Secured Creditor’s agreement and consent (“Consent”) to:

1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
                                                                                                             2
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             a. sell the Property to whichever third party Trustee determines to have
                  made the best qualified offer during a public sale approved by the
                  Court, with a tentative closing date of August 28, 2019;
             b. buy the Property from the Debtor’s estate if (and only if) no such
                  offer is made;
             c. release the Senior Mortgage and otherwise waive all of its claims
                  against the estate with respect to the Property (including any
                  deficiency claims resulting from the proposed sale); and
             d. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses
                  associated with the proposed sale, including the payment of a 6%
                  real estate brokerage commission to BKRES and Listing Agent and
                  reimbursement of their out-of-pocket expenses, and provide a carve
                  out for the benefit of allowed unsecured creditors of the Debtor’s
                  estate.
      10. The Secured Creditor has represented and warranted that it possesses a
valid, perfected, enforceable and unavoidable first mortgage lien on the Property by
virtue of a promissory note and mortgage recorded in the Official Records of Leon
County, Florida, consisting of principal and Interest (the “Secured Creditor
Indebtedness”).
                                   RELIEF REQUESTED
      11.    The Trustee requests the entry of an order pursuant to Section 363 of
the Bankruptcy Code approving the sale of the Property, using the services of
BKRES and Listing Agent, free and clear of all liens, claims, encumbrances, and
interests. As a material inducement to the Trustee’s decision to pursue the proposed
sale, the Secured Creditor consents to the Property’s sale and the creation of a carve-
out fund (the “Carve-Out Fund”) that will provide for the costs of this case to be paid
and provide a recovery for other creditors. The Trustee requests that any creditor
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(other than the Secured Creditor) asserting an interest or secured claim against the
Property be required to assert no later than 5 days prior to the hearing on the instant
Motion, and substantiate the basis for such asserted interest or secured claim, or the
Court will authorize the sale of the Property free and clear of any such asserted
interest or security interest, with such claims, at best, being treated as a general
unsecured claim.
                                  BASIS FOR RELIEF
             A.     The Sale of the Property Should Be Approved
      12.    The Trustee seeks the Court’s authority to sell the Property free and
clear of all liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-
Is” and without representations or warranties of any type, express or implied, being
given by the Trustee and his professionals, pursuant to the Sale procedures described
below.
      13.    Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after
notice and hearing, may use, sell, or lease property of the Debtor’s estate other than
in the ordinary course of business. The Court should approve the sale if the Trustee
can demonstrate a sound business justification for the sale and if the sale process is
fair, open, and reasonable. See Official Comm. Of Unsecured Creditors of LTV
Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.), 973 F.2d 141,
143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr.
S.D. Fla. 2008). Further, Bankruptcy Rule 6004(f) contemplates sales outside of the
ordinary course of business.
      14.    The Trustee, through the services of BKRES and Listing Agent, have
listed the property and accepted an offer that has been approved by the Secured
Creditor and will result in a carve-out for the Bankruptcy Estate of
$20,000.00. Attached is the letter of consent/approval from the Secured Creditor(s).


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      15.    Accordingly, the Trustee submits that the sale of the Property pursuant
to the above process is reasonable under Section 363(b) of the Bankruptcy Code.
      B.     The Sale of the Property Should Be Approved Free and Clear of
                    All Interests
      16.    Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may
sell property free and clear of any interest in such property in an entity other than the
estate if (1) permitted under applicable non-bankruptcy law; (2) the party asserting
such interest consents; (3) the interest is a lien and the purchase price at which the
property is to be sold is greater than the aggregate value of all liens on the property;
(4) the interest is the subject of a bona fide dispute; or (5) the party asserting the
interest could be compelled, in a legal or equitable proceeding, to accept a money
satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169
n.3 (2d Cir. 2005) (“Section 363 permits sales of assets free and clear of claims and
interests . . . It thus allows purchasers . . . to acquire assets [from a debtor] without
any accompanying liabilities.”); see also In re MMH Auto. Group, LLC, 385 B.R.
347, 367 (Bankr. S.D. Fla. 2008).
      17.    The Trustee states that he shall satisfy Section 363(f)(2) of the
Bankruptcy Code because the Secured Creditor consents to a sale of the property
under Section 363(f)(2) of the Bankruptcy Code, free and clear of all liens, claims,
encumbrances, and interests.
      18. The Trustee requests that any creditor (other than the Secured Creditor)
asserting an interest or secured claim against the Property, after proper notice is
given, be required to timely assert and substantiate the basis for such asserted interest
or secured claim, by filing and serving responsive papers no later than 5 days prior
to the hearing on the instant Motion, or the Court will authorize the sale of the
Property free and clear of any such asserted interest or security interest, with such


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claims, at best, being treated as a general unsecured claim. 2 Failure to object after
proper notice and opportunity to object is deemed consent. See BAC Home Loans
Servicing LP v. Grassi, 2011 WL 6096509 (1st Cir. BAP Nov. 21, 2011); Citicorp
Homeowners Servs., Inc. v. Elliott, 94 B.R. 343 (E.D. Pa. 1988); In re Gabel, 61
B.R. 661 (Bankr. W.D. La. 1985); Futuresourse LLC v. Reuters Ltd., 312 F.3d 281
(7th Cir.); In re Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr. S.D. Fla.,
May 21, 2012).
           19.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the
Trustee seeks authority to sell the Property free and clear of all liens, claims,
encumbrances, and interests but otherwise “As-Is, Where-Is” and without
representations or warranties of any type given by the Trustee or his professionals.
Notwithstanding that the Trustee will seek authority to execute all documents and
instruments he deems reasonable, necessary and/or desirable to close the sale, the
only documents that the Trustee shall be required to deliver to close shall be (a) a
Trustee’s Deed, and (b) a copy of the Final Sale Order.
           20.      The Secured Creditor agrees to pay at closing (1) all outstanding real
estate taxes, including any prorated amounts due for the current tax year; (2) if
applicable, the lesser of any HOA fees accrued post-petition or the equivalent to
twelve months’ assessments and (3) all closing costs excluding professional fees but
including State Documentary Stamps for the entire closing price pursuant to Florida
Statue Sections 201.01 and 201.02; (4) the carve out to the Trustee. Any payments
by the Secured Creditor as stated herein shall be subject to any and all limitations on
the Secured Creditor’s liability for any fees and costs under applicable law.
           C.       The Sale Will Be Undertaken by the Buyer in Good Faith
           21.      Section 363(m) of the Bankruptcy Code protects a good faith


2
    The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
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purchaser’s interest in property purchased from a debtor notwithstanding that the
sale conducted under section 363(b) was later reversed or modified on appeal.
      22.     The sale should be found to have been in good faith if the Trustee can
demonstrate the transaction occurred at arm’s-length and without fraud or collusion.
See Kabro Assocs. of West Islip, LLC v. Colony Hill Assocs. (In re Colony Hill
Assocs.), 111 F.3d 269, 276 (2d Cir. 1997) (“Typically, the misconduct that would
destroy a purchaser’s good faith status at a judicial sale involves fraud, collusion
between the purchaser and other bidders or the trustee, or an attempt to take grossly
unfair advantage of other bidders.” (citation omitted)); see also In re Lorraine
Brooke Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2,
2007) (holding that a sale was entitled to the protections of Section 363(m) of the
Bankruptcy Code when it was based upon arm’s length bargaining and without
collusion).
      23.     The Trustee asserts that the sale of the Property will utilize a
competitive and transparent marketplace that facilitates an arm’s-length sale without
fraud or collusion. Accordingly, the Trustee respectfully requests that the Court find
that the purchaser(s) will be entitled to the protections of Section 363(m) of the
Bankruptcy Code.
      24.     The Trustee further states that:
              (a)   the Trustee has reviewed the tax implications of the proposed
Sale and has determined that the proposed sale will not result in a capital gains tax
event to the estate or other taxable event which would negate the benefit realized
from the Carve Out;
              (b)   the Trustee has determined, based upon a review of the schedules
and information derived from the 341 meeting, that there will likely be a meaningful
distribution to creditors based upon the understanding that the final sale price and
the total dollar amount of claims to be filed in this case are both unknown and can
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only be estimated at this time; and
              (c)    Given the information available at this time, the Trustee has
made an educated evaluation and determined that the proposed Sale is in the best
interest of the estate and its creditors.
       25. The Trustee respectfully requests that this Court: (a) waive the 14 day stay
pursuant to Rule 6004(h), deem the sale order enforceable immediately upon entry,
and authorize the Trustee to close on the sale immediately upon entry of the Final
Sale Order; (b) authorize the Trustee to take all actions and execute all documents
he deems reasonable, necessary and/or desirable to effectuate the requested relief;
(c) retain sole and exclusive personal subject matter jurisdiction to implement,
interpret and enforce the terms of the this Motion and the Final Sale Order; and (d)
adjudicate all claims, controversies and/or disputes arising from or related to the
proposed sale.
                                      CONCLUSION
       WHEREFORE, the Trustee respectfully requests that the Court enters an
Order approving the short sale of the Property pursuant to Sections 105 and 363 of
the Bankruptcy Code and for such other and further relief as this Court deems just
and equitable under the circumstances of the case.

                                            RESPECTFULLY SUBMITTED,

                                            /s/Sherry F. Chancellor____________
                                            Sherry F. Chancellor, Trustee
                                            619 W. Chase Street
                                            Pensacola, FL 32502
                                            Phone: (850) 436-8445
                                            E-mail: sherry.chancellor@yahoo.com

                            CERTIFICATE OF SERVICE
       Under penalty of perjury, I have read the foregoing Motion and it is true and
                                                                                     8
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correct to the best of my knowledge. I HEREBY CERTIFY that a true and correct
copy of the foregoing Motion has been furnished via first-class United States Mail,
postage prepaid, or via electronic mail to all parties listed on the Court's Mailing
Matrix this the 10th day of June 2019.


                                             /s/Sherry F. Chancellor___________
                                             Sherry F. Chancellor




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Label Matrix for local noticing Case 18-40443-KKS      DocEstate
                                             BK Global Real   64 Services
                                                                    Filed 06/13/19     PageFlorida
                                                                                            12 of Dept.
                                                                                                   14 of Labor/Employment Security
1129-4                                       1095 Broken Sound Parkway NW, Suite 100         c/o Florida Dept. of Revenue
Case 18-40443-KKS                            Boca Raton, FL 33487-3503                       P.O. Box 6668
Northern District of Florida                                                                 Tallahassee, FL 32314-6668
Tallahassee
Thu Jun 13 15:54:19 EDT 2019
Florida Dept. of Revenue                     Internal Revenue Service                        Nationstar Mortgage LLC
Bankruptcy Unit                              P.O. Box 7346                                   Robertson, Anschutz & Schneid
P.O. Box 6668                                Philadelphia, PA 19101-7346                     6409 Congress Avenue
Tallahassee, FL 32314-6668                                                                   Suite 100
                                                                                             Boca Raton, FL 33487-2853

PRA Receivables Management, LLC               Secretary of the Treasury                      U.S. Attorney (Tallahassee Office)
PO Box 41021                                  U.S. Treasury Department                       111 N. Adams Street
Norfolk, VA 23541-1021                        15th & Pennsylvania Ave.                       Fourth Floor
                                              Washington, DC 20220-0001                      Tallahassee, FL 32301-7736


(p)U S SECURITIES AND EXCHANGE COMMISSION     American Express                               American Express National Bank
ATLANTA REG OFFICE AND REORG                  Post Office Box 360001                         c/o Becket and Lee LLP
950 E PACES FERRY RD NE STE 900               Fort Lauderdale, FL 33336-0001                 PO Box 3001
ATLANTA GA 30326-1382                                                                        Malvern PA 19355-0701


(p)BANK OF AMERICA                            Bank of America, N.A.                          Chase
PO BOX 982238                                 P O Box 982284                                 Post Office Box 15298
EL PASO TX 79998-2238                         El Paso, TX 79998-2284                         Wilmington, DE 19850-5298



Chase Bank USA, N.A.                          Cheryll Olah                                   Cintas Corporation
c/o Robertson, Anschutz & Schneid, P.L.       Wakulla County Tax Collector                   PO Box 630910
6409 Congress Avenue, Suite 100               PO Box 280                                     Cincinnati, OH 45263-0910
Boca Raton, FL 33487-2853                     Crawfordville, FL 32326-0280


Club Wyndham                                  Comcast Business                               Discover
PO Box 98940                                  141 NW 16th Street                             Post Office Box 6103
Las Vegas, NV 89193-8940                      Pompano Beach, FL 33060-5291                   Carol Stream, IL 60197-6103



Discover Bank                                 Doris Maloy, Leon County Tax Collector         Georgia-Florida Alarm
Discover Products Inc                         Attn: Tax Administration Department            PO Box 2747
PO Box 3025                                   Post Office Box 1835                           Thomasville, GA 31799-2747
New Albany, OH 43054-3025                     Tallahassee, FL 32302-1835


Harper Revell Heating & Air, Inc.             Jimmy Dye, Esquire                             Leon County Tax Collector
3015 Nathan Lane                              Post Office Box 4148                           Post Office Box 1835
Tallahassee, FL 32308-6289                    Tallahassee, FL 32315-4148                     Tallahassee, FL 32302-1835



MRS Associates                                Marpan                                         McCarthy, Burgess & Wolfe
1930 Olney Avenue                             PO Box 2068                                    26000 Cannon Road
Cherry Hill, NJ 08003-2016                    Tallahassee, FL 32316-2068                     Bedford, OH 44146-1807
Nationstar Mortgage             Case 18-40443-KKS
                                             Nationwide Doc   64 Filed 06/13/19
                                                        Insurance                                 PageNuCO2
                                                                                                       13 of 14
c/o Robertson, Anschutz, et al.              c/o Receivable Management Services                           PO Box 417902
6409 Congree Avenue                          PO Box 361378                                                Boston, MA 02241-7902
Suite 100                                    Columbus, OH 43236
Boca Raton, FL 33487-2853

NuCO2, LLC                                           PennCredit Corporation                               Regions Bank
2800 SE Market Place                                 PO Box 1259                                          PO Box 2224
Stuart, FL 34997-4965                                Department 91047                                     Birmingham, AL 35246-0026
                                                     Oaks, PA 19456-1259


Regions Bank                                         Synchrony Bank                                       Synchrony Bank
Post Office Box 1984                                 Lowe’s                                               c/o PRA Receivables Management, LLC
Birmingham, AL 35201-1984                            PO Box 530914                                        PO Box 41021
                                                     Atlanta, GA 30353-0914                               Norfolk VA 23541-1021


Sysco Collections                                    Sysco Food   Service                                 Tallahassee Highpoint Creditors, Ltd.
PO Box 288                                           Commercial   Collection Corp of NY                   c/o David C. Strong
Tonawanda, NY 14151-0288                             34 Seymour   St                                      1201 S. Orlando Street
                                                     Tonawanda,   NY 14150-2126                           Suite 203
                                                                                                          Winter Park, FL 32789-7130

Tallahassee Highpoint Partners, LTD                  The Zenith                                           United States Trustee
c/o The Dye Law Firm, P.A.                           4415 Collections Center Drive                        110 E. Park Avenue
Post Office Box 4148                                 Chicago, IL 60693-0001                                Suite 128
Tallahassee, Florida 32315-4148                                                                           Tallahassee, FL 32301-7728


xfinity                                              Ethan Andrew Way                                     Gaylene Stanley
141 NW 16th Street                                   Way Law Firm, PA                                     Lord and Stanely Realty, Inc.
Pompano Beach, FL 33060-5250                         Post Office Box 10017                                1530 Metropolitan Blvd.
                                                     Tallahassee, FL 32302-2017                           Tallahassee, FL 32308-3775


Jeff Sessions                                        Roger L. Unger                                       Sherry Chancellor
Office of the Attorney General                       3240 Rue de Lafitte                                  Law Office of Sherry F. Chancellor
Main Justice Bldg., Rm. 511                          Tallahassee, FL 32312-2045                           619 West Chase St.
Tenth & Constitution                                                                                      Pensacola, FL 32502-4711
Washington, DC 20530-0001

c/o Leslie S. White Regions bank successor b
Dean Mead
PO Box 2346
Orlando, FL 32802-2346




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


U.S. Securities & Exchange Commission                Bank of America
Branch of Reorganization                             PO Box 982234
3475 Lenox Rd., N.E. Suite 100                       El Paso, TX 79998-2234
Atlanta, GA 30326-1323
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)American Express                                  (d)PRA Receivables Management, LLC                   End of Label Matrix
Post Office Box 360001                               PO Box 41021                                         Mailable recipients   51
Fort Lauderdale, FL 33336-0001                       Norfolk, VA 23541-1021                               Bypassed recipients    2
                                                                                                          Total                 53
